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19   Rimini Street, Inc., and Seth Ravin

20                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
21
     ORACLE USA, INC., a Colorado corporation;
22   ORACLE AMERICA, INC., a Delaware
     corporation; and ORACLE INTERNATIONAL
23   CORPORATION, a California corporation,
24
     Plaintiffs,
                                                          Case No. 2:10-cv-0106-LRH-PAL
25
     v.
                                                     NOTICE OF CHANGE OF ATTORNEY
26
     RIMINI STREET, INC. , a Nevada corporation;
27   SETH RAVIN, an individual,

28   Defendants.
       Case 2:10-cv-00106-LRH-VCF Document 928 Filed 11/16/15 Page 2 of 3




1           PLEASE TAKE NOTICE that as of November 9, 2015, Daniel M. Hinkle is no longer

2    affiliated with the law firm of Shook, Hardy & Bacon LLP and is no longer counsel in this case.

3    Mr. Hinkle should be removed from all further notices.

4           Dated this 16th day of November, 2015.

5
                                                 LEWIS ROCA ROTHGERBER LLP
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7
                                                 By /s/ W. West Allen
8                                                   W. West Allen, Esq. (Nevada Bar No. 5566)
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10                                               Rimini Street, Inc., and Seth Ravin
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1                                  CERTIFICATE OF SERVICE
2
          I hereby certify that on November 16, 2015, a true and correct copy of the foregoing was
3    electronically filed with the Clerk of the Court using the CM/ECF system, which will send a
     notice of electronic filing to counsel of record receiving electronic notification.
4
                                                        /s/ Judy Estrada
5
                                                    LEWIS ROCA ROTHGERBER LLP
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